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                EXHIBIT

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To:      jim.larkin@villagevoicemedia.com[jim.larkin@villagevoicemedia.com]
From:    Google Alerts
Sent:    Sat 5/5/2012 10:58:24 PM
Subject: Google Alert - backpage.com
MAIL_RECEIVED:      Sat 5/5/2012 10:58:24 PM

=== News - 1 new result for [backpage.com] ===

Man Charged in Backpage.com Murders
ABC News
Three of the victims had offered escort services on backpage.com, a
nationwide site similar to Craigslist, according to police. On Dec.
<http://abcnews.go.com/blogs/headlines/2012/05/man-charged-in-backpage-com-murders/>

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